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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

SIDNEY LAMAR SPOONHOUR,                          :
     Petitioner                                  :            No. 1:21-cv-01783
                                                 :
               v.                                :            (Judge Kane)
                                                 :
WILLIAM BECHTOLD, et al.,                        :
     Respondents                                 :

                                            ORDER

       AND NOW, on this 3rd day of December, 2021, upon consideration of the petition (Doc.

No. 1) for writ of habeas corpus, and for the reasons set forth in the accompanying

memorandum, IT IS ORDERED THAT:

       1.      The petition (Doc. 1) for writ of habeas corpus is DISMISSED WITHOUT
               PREJUDICE;

       2.      A certificate of appealability shall not issue; and

       3.      The Clerk of Court is directed to CLOSE this case.



                                                              s/ Yvette Kane
                                                              Yvette Kane, District Judge
                                                              United States District Court
                                                              Middle District of Pennsylvania
